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                    IN THE UNITED STATES DISTRICT COURT
                    DISTRICT OF UTAH, NORTHERN DIVISION


                                            FIRST AMENDED COMPLAINT FOR
ANGEL ABREU, Plaintiff,                       VIOLATION OF CIVIL RIGHTS

v.
                                                    (Prisoner Complaint)
                                                       Jury Demanded
AMY HUTCHISON, CHRISTOPHER
RUMMELL, COLE MELDRUM,
WILBERT TERRELL, SC LEWIS, T.                 Case No. 1:21-cv-00129-RJS
NIX, JOHN DOES 1-10, Defendants.
                                              Judge Robert J. Shelby



     Plaintiff Angel Abreu, by and through undersigned counsel, alleges as

follows:
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                                   Introduction

   This is a civil action arising from excessive force and the unnecessary

rigorous treatment of Angel Abreu, a pretrial detainee at the Davis County jail.

On September 26, 2020, while moving Mr. Abreu from his cell block, an officer

stabbed Mr. Abreu. His transport to the gurney was mishandled causing him

ongoing nerve pain in his wrists. The poorly handled move also aggravated an

injury to his shoulder that he still suffers from. The Defendants are sued for

violations of Mr. Abreu’s rights under the Utah and United States Constitution.

                         Jurisdiction, Venue, and Parties

   1. This action is brought under 42 U.S.C. § 1983 for the “deprivation of any

      rights, privileges, or immunities secured by the Constitution and [federal

      laws].”

   2. Section 1983 allows defendants to be found liable when they have acted

      “under color of any statute, ordinance, regulation, custom, or usage, of

      any State or Territory or the District of Columbia.”

   3. This Court has jurisdiction to hear the federal civil rights violations in this

      matter under 28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3)–(4) and

      supplemental jurisdiction to hear the common law claims under 28 U.S.C.

      1367.
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 4. Venue is proper under 28 U.S.C. § 1391 because the acts giving rise to this

    lawsuit occurred in Davis County, Utah.

 5. The Plaintiff, Mr. Abreu, at all times relevant has been a resident of Utah.

 6. At all times relevant to the Complaint, Defendants were duly sworn and

    licensed police officer of the Davis County Sheriff’s Office acting under

    color of law and within the scope of their employment. They are sued in

    their individual capacities.

 7. The first names of the officers have been redacted from records provided

    to plaintiff.

 8. John Does I-V are officers who assisted Defendant and who, on

    information and belief, contributed to Mr. Abreu’s damages.

                             General Allegations

 9. On September 26, 2020, Officer SC Lewis ordered Mr. Abreu to allow cuffs

    to be placed on him as part of a move to a different housing unit.

 10. Mr. Abreu requested that he be allowed to pack up his own property

    before the move.

 11. Officer Lewis denied the request.

 12. At around 7:10 pm on September 26, 2020, several officers entered Mr.

    Abreu’s housing unit.
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 13. Those officers were officers Amy Hutchinson, Christopher Rummell,

    Wilbert Terrell, Cole Meldrum and other officers whose names are not yet

    known designated as John Does 1-10.

 14. Plaintiff does not yet know the first name of officers T. Nix and SC Lewis;

    however, these officers were also involved.

 15. Prior to the officers’ entry, Captain Cole Meldrum gave Sergeant

    Hutchinson clearance to have a CERT team assist in the movement of Mr.

    Abreu.

 16. The officers who entered the cell were members of the CERT team.

 17. In forming the CERT team, Sergeant Hutchison gave the team misleading

    information.

 18. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu had a razor in his cell.

 19. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu had a history of assault.

 20. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu was refusing to cooperate with commands.

 21. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu was making preparations to fight.
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 22. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu had barricaded himself in his cell.

 23. On information and belief, Sergeant Hutchison informed members of the

    CERT team that Mr. Abreu had flooded his cell.

 24. During the time that the CERT team was being formed and briefed, Mr.

    Abreu had no idea that officers at the jail were prepared to violently seize

    him to force his movement.

 25. Mr. Abreu was, in fact, intending to comply with the move without use of

    force.

 26. At around 12:00 pm of that day, Mr. Abreu signaled to jail staff that of his

    interest and readiness to comply with the move.

 27. The staff member informed him that she was eating lunch, not to bother

    her, and if he wanted to follow orders then he should have done so earlier.

 28. At about 7:10pm, Mr. Abreu heard Sergeant Hutchison say “. . . how do

    you comply?” Before Mr. Abreu could process what was said the door to

    the cell door was opened. CERT members flooded the room.

 29. Mr. Abreu backed up to the bunk of the room.

 30. Multiple direct orders were made against Mr. Abreu simultaneously and

    without a clear order of priority: “put your hands in the air,” “get down on
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    your stomach,” “show me your hands,” “get down on the ground with your

    chest.”

 31. This mismatch of orders made it impossible for Mr. Abreu to follow one

    order without refusing another.

 32. Members of the CERT team grabbed Mr. Abreu.

 33. Mr. Abreu felt a fierce pain inflicted to his stomach causing him to drop to

    the ground.

 34. Once Mr. Abreu touched the ground with his knees, his head was pinned

    to the metal frame of the lower bunk.

 35. One officer had a knee pressed against the back of Mr. Abreu’s head.

 36. Other officers latched on to Mr. Abreu’s arms, legs, and body.

 37. At one point, Mr. Abreu’s left arm was pulled in different direction by

    different officers.

 38. While Mr. Abreu was being handled accordingly, he could feel the pain in

    his stomach become more intense to the point that it felt like a ripping of

    flesh.

 39. Mr. Abreu later learned that this pain was a stab wound.

 40. The pain was intense; Mr. Abreu experienced sensations of burning and

    stinging.
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 41. On information and belief, the stab was made by scissors.

 42. Officers of the CERT team carry scissors to do, among other things, cut

    clothing.

 43. Mr. Abreu was screaming in pain while officers worked to secure his

    hands and feet with restraints.

 44. While cuffing Mr. Abreu, officers of the team were having difficulty

    double locking the cuffs.

 45. It was decided to not double-lock them and continue with the extraction.

 46. Due to the stab wound, officers requested an ambulance.

 47. Officers picked up Mr. Abreu, lifting him entirely off the ground to carry

    him to a gurney.

 48. Mr. Abreu was carried by the handcuffs and the shackles around his

    ankles so that the front of his body was facing the ground while being

    carried.

 49. The manner of this carrying put a significant amount of pressure on Mr.

    Abreu’s wrists as the handcuffs dug into them.

 50. No first aid was applied to Mr. Abreu as the team carried him to the

    gurney including no bandaging of the stab wound or pressure put on it.
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 51. Officers carried Mr. Abreu carelessly, nearly dropping him multiple

    times.

 52. Officers carried him downstairs to get to the gurney, which was left in the

    middle of the hall rather than left at the bottom of the stairs.

 53. When officers placed Mr. Abreu on the gurney they placed him on his

    stomach and wheeled him towards the exit to where an ambulance was

    parked.

 54. During the time that he was being wheeled, Mr. Abreu screamed from the

    pain and voiced discomfort with the restraints.

 55. One of the officers initially jumped onto the gurney with Mr. Abreu, using

    her weight to push his ankles to his back.

 56. Mr. Abreu’s handcuffed hands were between his back and ankles.

 57. Because Mr. Abreu’s handcuffs were sandwiched between his back and

    ankles, and because his cuffs were not double-locked, this pushing

    exacerbated the pressure to his wrists.

 58. After repeated yelling about this issue the officer got off the gurney and

    stopped applying as much pressure on his ankles.
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 59. During the transit to the ambulance, Mr. Abreu experienced breathing

    difficulties. Officers had to stop several times to check if Mr. Abreu was

    still breathing.

 60. In placing Mr. Abreu in the ambulance, officers used scissors to cut Mr.

    Abreu’s clothes.

 61. Officers placed Mr. Abreu on his back on the ambulance gurney.

 62. Because the cuffs were still not double-locked, the pressure from the cuffs

    was once again exacerbated because Mr. Abreu was forced to lay on them.

 63. Mr. Abreu made repeated requests to the officer riding with him in the

    ambulance (John Doe) to have his cuffs adjusted, expressing that he had

    the sensation of a loss of circulation and also expressing concern that the

    loss of feeling would affect his ability to work as a professional chef and

    barber (which was Mr. Abreu’s career path prior to his incarceration).

 64. The officer refused to adjust the cuffs.

 65. Upon reaching the hospital, Mr. Abreu made multiple requests to officers

    Terrell and Rummel to adjust the cuffs, expressing the same concerns as

    before.

 66. Officer Terrell refused to adjust Mr. Abreu’s cuffs.

 67. Officer Rummel refused to adjust Mr. Abreu’s cuffs.
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  68. Upon being evaluated at the hospital, it was determined that Mr. Abreu

     had suffered a stab wound and multiple laceration to the abdomen.

  69. Officers circulated a myth that Mr. Abreu caused his own stabbing by

     having a razor on his person.

  70. An independent investigation in Mr. Abreu’s cell revealed no such razor.

  71. Moreover, the investigator determined that scratches surrounding the

     stab wound did not appear to be consistent with a razor.

  72. Mr. Abreu has since been diagnosed with paresthesia of his wrists.

  73. The manner in which he was cuffed, the lack of double-locking, and the

     various forms of pressure placed on his wrists are the direct and

     proximate cause of that paresthesia.

  74. Mr. Abreu suffers from the paresthesia to the date of this filing.

  75. Mr. Abreu cannot hold a book or write for a long period of time without a

     pain or numbness rising from his hands to his elbow.

  76. Mr. Abreu was given medical orders to have the dressing for his abdomen

     wound changed daily for the first ten days.

  77. Between October 1st, 2020 to October 4th, 2020, Mr. Abreu was denied

     help in changing the dressing. By October 4th, the wound was bright red

     with puss. Staff finally cleaned and redressed the wound on October 4th.
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  78. On October 5, 2020, staples, which were applied when Mr. Abreu was at

     the hospital, were removed. However, medical staff never applied steri-

     strips to the wound as ordered by the doctor.

  79. The lack of steri-strips caused, or exacerbated, a scar on Mr. Abreu’s

     stomach, left to remind him of being stabbed by a correction’s officer.

  80. Well before this incident, in or about March of 2020, Mr. Abreu injured his

     shoulder while at the jail.

  81. A physician at the jail, Dr. Wood, recommended that he do physical

     therapy by doing arm circles.

  82. However, Mr. Abreu’s shoulder did not improve with the physical therapy

     and still gives him occasional pain.

  83. The incident with the cert team aggravated his shoulder injury for which

     he has still not received treatment.

                          First Cause of Action
   42 U.S.C. 1983—Fourth Amendment Through Fourteenth Amendment
                            Excessive Force

  84. Plaintiff incorporates and realleges all proceeding facts.

  85. The above captioned officers engaged in, as well as aided and abetted in

     the engagement in, the excessive treatment of Mr. Abreu.
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  86. Moreover, Sergeant Hutchison, both as an individual and supervisor over

     other officers on scene, used, directed, and oversaw the use of force

     against Mr. Abreu including the cuffing, injuries to his abdomen, and

     related injuries.

  87. The force was intentional, reckless, or at least grossly negligent and in

     excess of what was reasonable.

  88. Due to the excessive force Mr. Abreu has suffered damages at an amount

     to be proven at trial.

                          Second Cause of Action
                   Utah Const. art. I, § 14 – Excessive Force

  89. Plaintiff incorporates and realleges all proceeding facts.

  90. The force was intentional, reckless, or at least grossly negligent and in

     excess of what was reasonable.

  91. Due to the excessive force Mr. Abreu has suffered damages at an amount

     to be proven at trial.

                           Third Cause of Action
                  Utah Const. art. I, § 9 – Unnecessary Rigor

  92. Plaintiff incorporates and realleges all proceeding facts.

  93. Plaintiff has a constitutional right to be treated without unnecessary rigor.
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  94. Defendants violated that right through the intentional, reckless, or at least

     grossly negligent conduct in their handling of the entry into Mr. Abreu’s

     cell and the injuries which they caused.

  95. Due to the unnecessary rigor Mr. Abreu has suffered damages at an

     amount to be proven at trial.

                           Fourth Cause of Action
     42 U.S.C. 1983—Eighth Amendment Through Fourteenth Amendment
                       Cruel and Unusual Punishment

  96. Plaintiff incorporates and realleges all proceeding facts.

  97. Defendants showed deliberate indifference in the way in which they

     handled Mr. Abreu through the entry into his cell and his transport to the

     hospital.

  98. Due to the cruel and unusual punishment Mr. Abreu has suffered

     damages at an amount to be proven at trial.



                             DEMAND FOR JURY TRIAL

     Plaintiff requests a trial by jury on all matters so determinable.

                                PRAYER FOR RELIEF

     Wherefore, plaintiff requests relief the following relief:
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a.     For judgment against the defendant including damages, actual, non-economic,

and punitive, and for pre-judgment interest.

b.     For an award of reasonable costs of suit and attorneys’ fees as allowed by the

rules of the court and statute.

c.     For such other and further relief as the Court deems just.


DATED this Tuesday, January 31, 2023
                                            DEISS LAW, P.C.

                                            /s/ David Ferguson
                                            Andrew G. Deiss
                                            David Ferguson
                                            Corey Riley

                                            Attorneys for Plaintiff
